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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

Ricky Hall,                                           Case No.: 4:17-cv-3879

                   Plaintiff,

       vs.

Equifax Information Services, LLC,
Atlas Credit Co., Inc. and
Star Furniture Company,

                  Defendants.


         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN
                        PLAINTIFF RICKY HALL AND
              DEFENDANT /COUNTER PLAINTIFF STAR FURNITURE

       Plaintiff Ricky Hall (hereinafter “Plaintiff”) and Defendant/Counter Plaintiff Star

Furniture (hereinafter “Star”) stipulate, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), to dismiss

each of their actions with prejudice. Plaintiff filed their action against Star on December 26,

2017, please see Dkt. No.1. Star filed an answer that contained a counter claim on February 20,

2018, please see Dkt. No.9. Both parties agree to dismiss their claims with prejudice, with all

costs and attorneys fees to be paid by the party incurring same.

       There are no longer any issues in this matter between Plaintiff and Star to be determined

by this Court. The Parties hereby stipulate that all claims or causes of action against Plaintiff and

Defendant/Counter Plaintiff which were or could have been the subject matter of this lawsuit and

counter claim are hereby dismissed with prejudice, with all costs and attorney fees to be paid by

the party incurring same.
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Dated: March 13, 2018



Respectfully submitted,


  /s/ Dennis McCarty
  Dennis McCarty
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of March, 2018, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the attorneys on record:



                                                 /s/ Dennis McCarty
                                                 Dennis McCarty
